Case 2:85-cv-04544-DMG-AGR Document 1310-1 Filed 12/21/22 Page 1 of 6 Page ID
                                #:48040




                              EXHIBIT 1
Case 2:85-cv-04544-DMG-AGR Document 1310-1 Filed 12/21/22 Page 2 of 6 Page ID
                                #:48041



                 STIPULATION FOR COMPROMISE SETTLEMENT
                  AND RELEASE OF CLAIMS PURSUANT TO ECF
                  NO. 1282 IN FLORES, ET AL. V. GARLAND, ET AL.
             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                          NO. 2:85-cv-04544-DMG (AGRx)

         It is hereby stipulated by and between the undersigned Plaintiffs and Defendants, Merrick

 Garland, U.S. Attorney General; the U.S. Department of Health and Human Services (“HHS”);

 and the U.S. Office of Refugee Resettlement (“ORR”), by and through their respective counsel, as

 follows:

    1.      The parties do hereby agree to settle and compromise all claims related to attorneys’

            fees, litigation costs, and related expenses under the Equal Access to Justice Act

            (“EAJA”), 28 U.S.C. § 2412(d), pursuant to Plaintiffs’ “Notice of Motion and Motion

            for Award of Attorneys’ Fees and Costs,” filed in the United States District Court for

            the Central District of California (the “Court”), ECF No. 1282 (the “Motion”),

            including any such claims not already before the Court, whether known or unknown,

            arising directly or indirectly from the acts or omissions that gave rise to the claim for

            attorneys’ fees and costs in the Motion, under the terms and conditions set forth in this

            Stipulation for Compromise Settlement and Release of All Claims (“Settlement

            Agreement”).

    2.      This Settlement Agreement is not, is in no way intended to be, and shall not be

            construed as, an admission of liability or fault on the part of Defendants, their agents,

            officers, or employees, and it is specifically denied that they are liable to Plaintiffs. All

            parties enter into this Settlement Agreement for the purpose of settling Plaintiffs’

            claims under the EAJA for fees and costs relating to or arising from this civil action,

            and avoiding the expenses and risks of further litigation. Further, none of the terms of

            this Settlement Agreement may be offered or received into evidence or in any way
                                                   1
Case 2:85-cv-04544-DMG-AGR Document 1310-1 Filed 12/21/22 Page 3 of 6 Page ID
                                #:48042


          referred to in any civil, criminal, or administrative action or proceeding, other than

          proceedings that may be necessary to consummate or enforce the terms of this

          Settlement Agreement against Plaintiffs, the United States, or any agency or

          instrumentality of the United States.

    3.    By entering into this Settlement Agreement, Plaintiffs acknowledge and agree that they

          are waiving any additional claims, known or unknown, that may arise with respect to

          seeking any fees or costs from any Defendant for any claims arising out of the Motion.

    4.    To comply with Federal Rule of Civil Procedure 23(e), Defendants will assist Plaintiffs

          in providing class notice. Within 14 days of the execution of the Settlement Agreement,

          the parties will file a Joint Stipulation to Dismiss EAJA Motion with Prejudice (the

          “Joint Stipulation”) for the Court’s approval. The Joint Stipulation will describe the

          parties’ proposal for providing notice under Rule 23(e), and will attach this Settlement

          Agreement and Plaintiffs’ proposed class notice. Once the Court approves the proposed

          class notice and form of providing notice, Defendants will post the notice and the

          parties will follow the process ordered by the Court. Following completion of the notice

          period, Plaintiffs will inform the Court if any objections were received, and the parties

          will propose a schedule for final approval of the Settlement Agreement.

    5.    In full settlement and satisfaction of any and all claims, demands, rights, or causes of

          action for attorneys’ fees and other expenses, and taxable costs pursuant to the Motion

          of whatsoever kind and nature, arising out of or in connection with any event related to

          this Motion, filed in the Court:

          a. Defendants agree to pay Plaintiffs five hundred seventy-seven thousand, two-

             hundred and eighty-six dollars, and nine cents ($577,286.09) in settlement of

             Plaintiffs’ claims and any potential claims for attorneys’ fees, litigation costs, and

                                                  2
Case 2:85-cv-04544-DMG-AGR Document 1310-1 Filed 12/21/22 Page 4 of 6 Page ID
                                #:48043


             related expenses pursuant to the Motion. Plaintiffs agree that this is a reasonable

             resolution of Plaintiffs’ claims pursuant to the Motion.

          b. Defendants shall submit a request for remittance of these fees and costs within 25

             business days of the Court’s final approval of the Settlement Agreement and receipt

             of Plaintiffs’ relevant financial institution information.

          c. Defendants will use all good faith efforts to pay the settlement amount within 90

             days of the Court’s final approval of the Settlement Agreement.

          d. Plaintiffs represent that they have no existing debts to the United States and that

             they are not subject to an offset under Astrue v. Ratliff, 560 U.S. 586 (2010).

          e. This Settlement Agreement does not waive Plaintiffs’ or their attorneys’ tax

             liability or any other liability owed to the United States government.

          f. Neither Plaintiffs nor their counsel may pursue additional claims for attorneys’ fees,

             litigation costs, or other monies arising from the Motion other than for work in any

             proceedings that may be necessary to enforce the terms of this Settlement

             Agreement.

          g. Plaintiffs represent that their claim for attorneys’ fees, litigation costs, and other

             expenses has been assigned to their counsel, and Defendants accept the assignment

             and waive any applicable provisions of the Anti-Assignment Act, 31 U.S.C. § 3727.

          h. Plaintiffs agree to waive their right to payment to them of attorneys’ fees and costs

             pursuant to the Motion, so that Defendants may pay Plaintiffs’ counsel as described

             above.

    6.    This Settlement Agreement contains the entire agreement between the parties hereto.

          Plaintiffs acknowledge and agree that no promise or representation not contained in

          this Settlement Agreement has been made to them, and acknowledge and represent that

                                                3
Case 2:85-cv-04544-DMG-AGR Document 1310-1 Filed 12/21/22 Page 5 of 6 Page ID
                                #:48044


          this Settlement Agreement contains the entire understanding between the parties to this

          Settlement Agreement and contains all terms and conditions pertaining to the

          compromise and settlement of the disputes referenced herein. No oral or written

          statement, remark, agreement, or understanding that is not contained herein shall be

          recognized or enforced, nor does this Settlement Agreement reflect any agreed-upon

          purpose other than the desire of the parties to reach a full and final conclusion of the

          litigation concerning the Motion without the time and expense of further litigation.

    7.    This Settlement Agreement cannot be modified or amended except by an instrument in

          writing, agreed to and signed by the parties to this Settlement Agreement, nor shall any

          provision hereof be waived other than by a written waiver signed by the parties to this

          Settlement Agreement.

    8.    This Settlement Agreement shall be binding upon and inure to the benefit of Plaintiffs

          and Defendants and their respective assignees and representatives, including any

          person, entity, department, or agency succeeding to the interests or obligations of any

          party hereto or having an interest herein. The individuals signing this Agreement

          represent that they have the authority to bind the parties on whose behalf they sign this

          Agreement.

    9.    This document constitutes the complete integration of the Agreement between the

          parties and supersedes any and all prior oral or written representation, understandings,

          or agreements among or between the parties.

    10.   This Settlement Agreement may be signed in counterparts. Facsimile or electronic

          transmissions of the original or electronic signatures to this agreement shall have the

          same effect as the original signatures.

    11.   This Settlement Agreement is deemed executed on the date that the Settlement

                                                4
Case 2:85-cv-04544-DMG-AGR Document 1310-1 Filed 12/21/22 Page 6 of 6 Page ID
                                #:48045


            Agreement is signed by all of the individuals listed in the signature block below.



  Dated:                                             Dated:




  MISHAN WROE                                        FIZZA BATOOL

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                                                     Attorney for Defendants




                                                 5
